Filed 08/02/21                                                                   Case 21-21731                                                             Doc 24
     FORM L145
                                                                                                                                          21−21731 − E − 13 C
     Notice of Requirement to File a Certification of Completion of Course in Personal Financial Management (Official Form 23) (v.2.21)

                     UNITED STATES BANKRUPTCY COURT
                          Eastern District of California
                                 Robert T Matsui United States Courthouse
                                         501 I Street, Suite 3−200
                                          Sacramento, CA 95814

                                                     (916) 930−4400
                                                  www.caeb.uscourts.gov
                                                  M−F 9:00 AM − 4:00 PM

                         NOTICE OF REQUIREMENT TO FILE CERTIFICATION ABOUT A
                           FINANCIAL MANAGEMENT COURSE (Official Form 423)

     Case Number:                21−21731 − E − 13 C
     Debtor Name(s) and Address(es):


         Phyllis Ann Hitchcock
         121 C Street #37
         Wheatland, CA 95692

         11 U.S.C. § 1328(g) requires that each debtor in a Chapter 13 case complete an instructional course
         in personal financial management after filing a bankruptcy petition. Proof of having taken this course
         must be filed by each debtor in the case. If your course provider does not notify the court that you
         have completed the course, you must file a Certification About a Financial Management Course
         (Form 423) or the course certificate your provider gave you. This course must be taken in addition to
         the credit counseling that is required before filing a Chapter 13 case. A list of approved training
         agencies is available online at http://www.usdoj/ust/eo/bapcpa/ccde/index.htm.

         NOTICE IS HEREBY GIVEN THAT this bankruptcy case may be closed without entry of a discharge
         unless your course provider notifies the court that you have completed an instructional course in
         personal financial management; or, in the alternative, that each debtor files Form 423, the course
         certificate(s) your provider gave you, or a motion for extension of time to file one of these
         documents. These documents must be filed at the address shown above, no later than the date the
         last payment is made by the debtors as required by the plan. Once the case is closed without entry
         of a discharge, debtors must file Official Form 423 or the certificate provided by the course provider,
         a motion to reopen the case, and pay a reopening fee (currently $235.00 in a chapter 13 case) to
         obtain a discharge.

         Official Form 423 is printed on the reverse of this notice for your convenience. It is also
         available under "Official Forms" on the Forms and Publications page of the court's web site
         (www.caeb.uscourts.gov).

     Dated: 8/2/21                                                                        Wayne Blackwelder
                                                                                          Clerk of Court
Filed 08/02/21                                                            Case 21-21731                                                                                 Doc 24

    Fill in this information to identify the case:
     Debtor 1             Phyllis Ann Hitchcock

                          First Name                 Middle Name                    Last Name


     Debtor 2
     (Spouse, if filing) First Name                  Middle Name                    Last Name

     United States Bankruptcy Court       Eastern District of California
     Case number:         21−21731



    Official Form 423                                                                                                                                              12/15

    Certification About a Financial Management Course
    If you are an individual, you must take an approved course about personal financial management if:

     •   you filed for bankruptcy under chapter 7 or 13, or
     •   you filed for bankruptcy under chapter 11 and § 1141 (d)(3) applies.
    In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

    After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If the provider
    does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each file this form with the
    certificate number before your debts will be discharged.

     •   If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
         Bankruptcy Code.
     •   If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that you plan requires or before you file a
         motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
    In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a motion with
    the court and obtain a court order.

         Part 1:       Tell the Court About the Required Course


    You must check one:

           I completed an approved course in personal financial management:

                          Date I took the course                                   _________________
                                                                                    MM / DD / YYYY

                          Name of approved provider                                ______________________________________________________

                          Certificate number                                       ______________________________________________________

           I am not required to complete a course in personal financial management because the court has granted my motion for a waiver of the
           requirement based on (check one):

                   Incapacity.                 I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                               about finances.

                   Disability.                 My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                               phone, or through the internet, even after I reasonably tried to do so.

                   Active duty.                I am currently on active military duty in a military combat zone.

                   Residence.                  I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                               instructional courses cannot adequately meet my needs.


         Part 2:       Sign Here



            I certify that the information I have provided is true and correct.


           __________________________________________                    __________________________________________                   Date ______________________
            Signature of debtor named on certificate                     Printed name of debtor                                             MM / DD / YYYY



     Official Form 423                                      Certification About a Financial Management Course
